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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
YOTAM MAROM AND MIRIAM ROCEK,

                          Plaintiffs,                                 15 CV 2017 (PKC)(SN)
        -against-                                                     DECLARATION OF JESSICA
                                                                      MASSIMI IN SUPPORT OF
NYPD SERGEANT FIOR BLANCO, NYPD LEGAL                                 PLAINTIFF’S MOTION
BUREAU LIEUTENANT DANIEL ALBANO,                                      IN LIMINE
NYPD LEGAL BUREAU DETECTIVE KENNETH
O’DONNELL, NYPD OFFICER MICHAEL
GALGANO, SHIELD NO. 2671, NYPD OFFICER
CYNTHIA BOYLE, SHIELD 06663,

                                    Defendants.
------------------------------------------------------------------X

        JESSICA MASSIMI, pursuant to 28 U.S.C. § 1746, and subject to penalty of

perjury, declares the following is true and correct:

    1. I am an attorney duly admitted to practice law before this Court.

    2. I represent Plaintiff, Miriam Rocek, in this matter. As such, I am fully familiar

        with the facts and circumstances of this action. This declaration is submitted to

        put forth certain documents before this Court in support of Plaintiff’s motion in

        limine.

    3. Annexed hereto as Exhibit “1” is an excerpt of the Defendant City of New York’s

        answers to interrogatories in another matter, Gyasi v. The City of New York, et al.,

        5 CV 9453 (SAS)(GWG).

    4. Annexed hereto as Exhibit “2” is an excerpt of a transcript of a proceeding from

        Gyasi v. The City of New York, et al., 5 CV 9453 (SAS)(GWG).

    5. Annexed hereto as Exhibit “3”are excerpts of a transcript of a proceeding from

        Williams v. The City of New York, et al., 11 CV 5202 (JGK).
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  6. Annexed hereto as Exhibit “4” are excerpts of a pretrial hearing in Perez v.

     Duran, 11 Civ. 5399 (JGK) (S.D.N.Y. Sept. 18, 2014).

DATED:      January 24, 2020
            New York, NY



                                                             /S/
                                        ___________________________
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                                              Attorney for Plaintiff
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